Case 1:17-cv-02178-RBK-KMW Document 10 Filed 01/11/18 Page 1 of 7 PageID: 154



NOT FOR PUBLICATION


                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

                                                     :
 TRUSTEES OF THE UFCW LOCAL 152                      :
 HEALTH AND WELFARE FUND FOR                         :
 AND ON BEHALF OF THEMSELVES                         :     Civil No. 17-2178 (RBK/KMW)
 AND SAID FUND, et al.,                              :
                                                     :                 OPINION
                        Plaintiffs,                  :
                                                     :
                v.                                   :
                                                     :
 AVON FOOD, INC.,                                    :
                                                     :
                        Defendant.                   :



Kugler, United States District Judge:

       This suit arises from Avon Food, Inc.’s (“Defendant”) alleged failure to remit

contributions under a Collective Bargaining Agreement (“CBA”) between Defendant and UFCW

Local 152 (“Plaintiff”). Plaintiff brings this suit against Defendant to reduce to judgment the

alleged delinquent contributions. Presently before the Court is Plaintiff’s motion for entry of

default judgment against Defendant (Doc. No. 7). For the reasons set forth below, Plaintiff’s

motion is GRANTED.

I. FACTUAL BACKGROUND AND PROCEDURAL HISTORY

       Plaintiff avers that Defendant has failed to remit contributions under a CBA between the

parties. (Pl. Aff. at 2). Plaintiff brought this suit against Defendant on March 31, 2017. (Compl.).

Defendant was served on April 9, 2017. (Pl. Aff. at 2). The Clerk entered a default against

Defendant for failure to plead or otherwise defend this action on May 16, 2017. Plaintiff moved



                                                 1
Case 1:17-cv-02178-RBK-KMW Document 10 Filed 01/11/18 Page 2 of 7 PageID: 155



for default judgment on June 22, 2017. (Doc. No. 5). Defendant sent this Court a letter dated July

15, 2017 requesting its release from litigation, but has otherwise not made an appearance or

responded to the instant motion.

II. STANDARD

       Federal Rule of Civil Procedure 55(b)(2) allows the Court, upon plaintiff’s motion, to

enter default judgment against a defendant that has failed to plead or otherwise defend a claim

for affirmative relief. The Court should accept as true all well-pleaded factual allegations in the

complaint by virtue of the defendant’s default except for those allegations pertaining to damages.

Chanel, Inc. v. Gordashevsky, 448 F. Supp. 2d 532, 536 (D.N.J. 2008) (citing Comdyne I, Inc. v.

Corbin, 908 F.2d 1142, 1149 (3d Cir. 1990)). The Court also does not adopt Plaintiff’s legal

conclusions because whether the facts set forth an actionable claim is for the Court to decide.

Doe v. Simone, No. 12-5825, 2013 WL 3772532, at *2 (D.N.J. July 17, 2013).

       While the decision to enter default judgment is left principally to the discretion of the

district court, there is a well-established preference in the Third Circuit that cases be decided on

the merits rather than by default judgment whenever practicable. Hritz v. Woma Corp., 732 F.2d

1178, 1180-81 (3d Cir. 1984). Consequently, the Court must address a number of issues before

deciding whether a default judgment is warranted in the instant case. If the Court finds default

judgment to be appropriate, the next step is for the Court to determine a proper award of

damages.




                                                  2
Case 1:17-cv-02178-RBK-KMW Document 10 Filed 01/11/18 Page 3 of 7 PageID: 156



III. DISCUSSION AND ANALYSIS

     A. Appropriateness of Default Judgment

       i. The Court’s Jurisdiction

       First, the Court must determine whether it has both subject-matter jurisdiction over

Plaintiff’s cause of action and personal jurisdiction over Defendant. See U.S. Life Ins. Co. in

N.Y.C. v. Romash, No. 09–3510, 2010 WL2400163, at *1 (D.N.J. June 9, 2010).

       In this case, this Court’s jurisdiction was invoked pursuant to Section 502(e)(1) and (f)

and 515 of the Employment Retirement Income Security Act (“ERISA”), 29 U.S.C. § 1132(e)(1)

and (f), § 1145, and § 301 of the Labor Management Relation Act (“LMRA”), 29 U.S.C. § 185,

and 28 U.S.C. § 1331. This Court thus has subject-matter jurisdiction over the instant action—

there is federal question jurisdiction.

       We must also determine whether there is personal jurisdiction over Defendant. The

alleged breach took place in New Jersey and Defendant maintained and continues to maintain a

principal place of business in New Jersey. This Court has personal jurisdiction over the

Defendant in the form of general jurisdiction because Defendant has “continuous and

substantial” contacts with the forum state. See Provident Nat’l Bank v. Fed. Sav. & Loan Ass’n

819 F.2d 434, 437 (3d Cir. 1987) (citations omitted).

       ii. Entry of Default

       Second, the Court must ensure that the entry of default under Rule 55(a) was appropriate.

Rule 55(a) directs the Clerk of the Court to enter a party’s default when that party “against whom

a judgment for affirmative relief is sought has failed to plead or otherwise defend, and that

failure is shown by affidavit or otherwise.” In this case, Defendant was properly served with a

summons in March 2017 and has made no attempt to answer or defend the action before the



                                                 3
Case 1:17-cv-02178-RBK-KMW Document 10 Filed 01/11/18 Page 4 of 7 PageID: 157



Clerk appropriately issued the entry of default under Rule 55(a) on May 16, 2017. Defendant did,

however, mail this Court a letter dated July 17, 2017 requesting its release from this litigation.1

       iii. Fitness of Defendants to be Subject to Default Judgment

       Third, the Court will confirm that the defaulting parties are not infants or incompetent

persons, or persons in military service exempted from default judgment. See Fed. R. Civ. P.

55(b)(2); 50 U.S.C. App. § 501 et seq. (2006) (codification of the Servicemembers Civil Relief

Act of 2003). In this case, Plaintiff's counsel avers that Defendant is a corporation—neither an

infant nor an incompetent person. (Pl. Aff. at 2). Counsel states this upon information and belief,

and his good faith affirmation is sufficient to comply with Rule 55(b)(2). See Firstbank Puerto

Rico v. Jaymo Props., LLC, 379 F. App'x 166, 170 (3d Cir. 2010).

       iv. Plaintiff’s Cause of Action

       Fourth, the Court must determine whether Plaintiff’s complaint states a proper cause of

action against Defendant. In performing the inquiry into a cause of action, the Court accepts as

true a plaintiff’s well-pleaded factual allegation while disregarding its mere legal conclusions.

See Directv, Inc. v. Asher, No. 03–1969, 2006 WL 680533, at *1 (D.N.J. Mar. 14, 2006) (citing

10A Charles A. Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice and Procedure

§ 2688, at 58-59 (3d ed. 1998)).

       Plaintiff’s complaint is decidedly bare-bones, but is nevertheless sufficient. Plaintiff

maintains that Defendant did not remit its required contributions to Plaintiff’s Funds pursuant to

CBA obligations. (Compl.). Defendant is party to this CBA, and the CBA gives the Plaintiff the




1
 This Court must ignore Defendant’s July 17, 2017 letter. As a corporation, Defendant generally
must be represented by counsel. See Globe Media Grp., LLC v. Cisneros, 403 N.J. Super. 574,
577 (App. Div. 2008); Olympic Indus. Park v. P.L., Inc., 208 N.J. Super. 577, 580-81 (App. Div.
1986). Accordingly, the Court will ignore this letter.
                                                  4
Case 1:17-cv-02178-RBK-KMW Document 10 Filed 01/11/18 Page 5 of 7 PageID: 158



right to an annual audit. (Id.). Plaintiff’s audits found deficiencies. (Id.). Plaintiff informed

Defendant that there were deficiencies and repeatedly asked for payment, but Defendant refused

to pay. (Id.). In short, the complaint offers a coherent factual story about what happened and why

Plaintiff is entitled to relief. Accordingly, the Court finds that the allegations set forth in the

complaint to recover unpaid contributions are sufficient to state a claim against Defendant.

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (A complaint must include sufficient factual matter,

accepted as true, to “state a claim to relief that is plausible on its face.”).

        v. Emcasco Factors

        Finally, the Court must consider the so-called Emcasco factors when determining

whether to enter default judgment. The Court considers: (1) whether the defaulting party has a

meritorious defense; (2) the prejudice suffered by the plaintiff seeking default; and (3) the

defaulting party’s culpability in bringing about default. Bridges Fin. Grp., Inc. v. Beech Hill Co.,

Inc., No. 09-2686, 2011 WL 1485435, at *3 (D.N.J. Apr.18, 2011) (citing Doug Brady, Inc. v.

N.J. Bldg. Laborers Statewide Funds, 250 F.R.D. 171, 177 (D.N.J. 2008) (citing Emcasco Ins.

Co. v. Sambrick, 834 F.2d 71, 74 (3d Cir. 1987))). The Court finds that all three factors favor

granting default judgment.

        First, there is no showing that Defendant has a cognizable defense to Plaintiff’s claim for

deficient contributions. Defendant has filed one letter which, as discussed in footnote 1, this

Court must ignore. Second, because Defendant has failed to answer the complaint or otherwise

appear, Plaintiff suffers prejudice if it does not receive a default judgment because it has no

alternative means of vindicating its claim against the defaulting party. See Directv v. Asher, 2006

WL 680533, at *2. Third, Defendant’s failure to properly respond permits, but does not compel,

the Court to draw an inference of culpability on its part. See Surdi v. Prudential Ins. Co. of Am.,



                                                    5
Case 1:17-cv-02178-RBK-KMW Document 10 Filed 01/11/18 Page 6 of 7 PageID: 159



No. 08-225, 2008 WL 4280081, at *2 (D.N.J. Sept. 8, 2008) (citing Palmer v. Slaughter, No. 99-

899, 2000 WL 1010261, at *2 (D. Del. July 13, 2000)). The Emcasco factors therefore weigh in

favor of entering default judgment.

       vi. Conclusion

       Entry of default judgment is left primarily to the discretion of the district court. For the

reasons discussed above, default judgment is appropriate.

    B. Damages

    1. Damages under the CBA and ERISA

       The damages alleged in this case are sum certain. Plaintiff maintains that there is now due

and owing from Avon the following sums under the CBA:

       Contributions (1/2009-12/2015 audits): $80,582.61
       Interest: $19,573.63
       Audit Costs: $334.18
       Liquidated Damages2: $16,116.51
       Total Amount Due to 152 Health and Welfare Fund: $116,606.95

       Contributions (short paid 1/2016-1/2017): $2,182.16
       Interest: $113.59
       Liquidated Damages: $436.40
       Total Amount Due to 152 Retail Meat Pension Fund: $2,732.15

       Contributions (1/2009-12/2015 audits): $50,432.37
       Interest: $16,074.93
       Audit Costs: $544.18
       Liquidated Damages: $10,086.46
       Total Amount Due to 152 Retail Meat Pension Fund: $77,137.94




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 The amount of liquidated damages represents 20% of the amount of the late payments, which is
provided for pursuant to the CBA.
                                                  6
Case 1:17-cv-02178-RBK-KMW Document 10 Filed 01/11/18 Page 7 of 7 PageID: 160



    2. Costs and Attorney Fees

         Under ERISA, specifically 29 U.S.C. § 1132(g)(2), Plaintiff is entitled to reasonable

attorney’s costs and fees brought to enforce § 1145. Thus, in this case, the attorney’s costs and

fees can be included in damages.

         The affidavit submitted by Plaintiff’s counsel substantially complies with Local Civil

rules 54.1 and 54.2. The attorney’s fees total $3,115.00 (at a rate of $200 per hour for counsel

and $75 per hour for counsel’s paralegal) and costs total $412.50. Given the facts and nature of

this case, the combined bill of $3,527.50 is reasonable.

IV. CONCLUSION

         For the reasons stated above, Plaintiff’s motion for default judgment against Defendant is

GRANTED. Plaintiff is entitled to a total judgment of $200,004.34 in damages. An appropriate

order shall issue.



Dated:     01/10/2018                                                _s/Robert B. Kugler_
                                                                     ROBERT B. KUGLER
                                                                     United States District Judge




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